                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 ADMIRAL INSURANCE COMPANY,
                                                          Civ. No. 1:21-cv-10388-PBS
                Plaintiff,
                                                          MOTION FOR PARTIAL
         v.                                               SUMMARY
                                                          JUDGMENT
 TOCCI BUILDING CORPORATION, et al.
                                                          Count I
                Defendants.



        Pursuant to Local Rule 56.1 and Rule 56 of the Federal Rules of Civil Procedure, Admiral

Insurance Company (“Admiral”) respectfully moves for summary judgment as to Count I of its

Complaint [ECF Doc. No. 1]. As support, Admiral incorporates by reference the facts, authorities,

and reasoning set forth in the accompanying Memorandum of Law.

                                            Respectfully submitted,

Dated April 9, 2020                         Admiral Insurance Company

                                            /s/ Eric B. Hermanson
                                            Eric B. Hermanson (BBO #560256)
                                            Austin D. Moody (BBO #704315)
                                            WHITE AND WILLIAMS LLP
                                            101 Arch Street, Suite 1930
                                            Boston, MA 02110
                                            Tel: (617) 748-5200
                                            Fax: (617) 748-5201
                                            hermansone@whiteandwilliams.com
                                            moodya@whiteandwilliams.com




26887139v.1
                                    LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Admiral Insurance

Company conferred in good faith with counsel for Defendants on April 8, 2021. The parties were

unable to resolve the dispute.



                                                      /s/ Austin D. Moody
                                                      Austin D. Moody




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants as of April 9, 2021.


                                                      /s/ Eric B. Hermanson
                                                      Eric B. Hermanson




                                                -2-
26887139v.1
